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                           UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION
                                  Electronically Filed


DR. CHRISTOPHER FROST                          )
  Plaintiff                                    )   Case No. 3:19-cv-00227-CRS
                                               )
v.                                             )
                                               )
UNIVERSITY OF LOUISVILLE, et al                )
  Defendants                                   )
                                               )
                                               )

                                STIPULATION OF DISMISSAL

       Pursuant to Rule 41(a)(ii) of the Federal Rules of Civil Procedure, the undersigned hereby

stipulate that the above action may be dismissed with prejudice upon such terms as have been

agreed upon by the parties.

Having seen and agreed to:


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